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PROPOSED ORDER

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,! Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Related to Docket No. __

ORDER PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE
AUTHORIZING TRIBUNE NM, INC. TO SELL CERTAIN REAL PROPERTY
LOCATED IN HICKSVILLE, NEW YORK TO STEEL TRIBUNE, LLC

Upon the Motion* of Debtor Tribune NM, Inc. (“TNM”’) for entry of an order
pursuant to section 363 of the Bankruptcy Code authorizing TNM to sell the Hicksville Property
to the Purchaser free and clear of all liens, claims and encumbrances; and the Court finding that

(a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (b) this

' The Debtors in these chapter 1] cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256), Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc. (5621); Newscom Services, Inc. (4817),
Newspaper Readers Agency, Inc. (7335); North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak
Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest
Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc.
(3603), Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel
Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call,
Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc.
(4227), Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS 1, Inc. (0719); TMS Entertainment Guides, Inc. (6325);
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc. (1088); Tribune California
Properties, Inc. (1629); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232); Tribune Entertainment Production
Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los
Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279), Tribune Media Net, Inc. (7847), Tribune Media Services, Inc.
(1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune
Publishing Company (9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans,
Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587); WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting
Company (9530); WLVI Inc. (8074), WPLX, Inc. (0191); and WTXX Inc. (1268). The Debtors’ corporate headquarters and the mailing address
for each Debtor is 435 North Michigan Avenue, Chicago, Illinois 60611.

° Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motion.
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matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and (c) notice of the
Motion was due and proper under the circumstances; and it appearing that the relief requested in
the Motion is in the best interests of TNM, its estate, creditors and other parties in interest; and
after due deliberation, and good and sufficient cause appearing therefor, it is hereby:

ORDERED, that the Motion is granted;

ORDERED, that pursuant to section 363 of the Bankruptcy Code, TNM is
authorized to sell the Hicksville Property to the Purchaser pursuant to the terms of the Sale
Agreement, free and clear of all liens, claims and encumbrances, with such liens, claims and
encumbrances attaching to the proceeds of the sale in the order of their priority, with the same
validity, force and effect which they now have as against the Hicksville Property, subject to any
claims and defenses TNM may possess with respect thereto; and it is further

ORDERED, that the sale of the Hicksville Property by private sale to the
Purchaser is hereby authorized pursuant to Federal Rule of Bankruptcy Procedure 6004(f)(1) and
no other or further marketing process for the Hicksville Property is required; and it is further

ORDERED, that the Court finds that Purchaser is a good faith purchaser pursuant
to Bankruptcy Code section 363(m) and the sale of the property is not subject to avoidance
pursuant to Bankruptcy Code section 363(n); and it is further

ORDERED, that upon the closing of the sale of the Hicksville Property, TNM
may pay to its Broker a brokerage commission in an amount equal to five percent (5%) of the
purchase price from the proceeds of the sale, plus any documented expenses reasonably incurred

on TNM’s behalf in connection with marketing the Hicksville Property for sale; and it is further
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ORDERED that the 10-day stay under Bankruptcy Rule 6004(h) is hereby
waived, and this Order shall become effective and enforceable immediately upon entry; and it is
further

ORDERED, that this Court shall retain jurisdiction with respect to all matters
arising from or related to the implementation of this Order.

Dated: Wilmington, Delaware
, 2009

Honorable Kevin J. Carey
Chief United States Bankruptcy Judge

CHI 4854770v.2
